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EXHIBIT 1

EXHIBIT 1
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Attorneys for Interested Party

Bill Gouldd
UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
FEDERAL TRADE COMMISSION, | CASE NO.: CV-S-99-0969-KJD-PAL

Plaintiff,
V.

EQUINOX INTERNATIONAL, CORP.,
et al.,

DECLARATION OF BILL GOULDD

Defendants.

|, BILL GOULD, do hereby swear and affirm under penaity of perjury of the laws
of the State of Nevada that the assertions contained in this declaration are true and
correct.

1. | am over the age of Sighteen (18) years. | have personal knowledge of
the facts stated within this declaration. If called as a witness, | would be competent to
testify to these facts.

2. | make this declaration in support of my Limited Response to Receiver’s
Motion (Doc. #606); Counter-Motion for Protective Order Requiring that Documents
Owned by Gouldd, or Incident to His Intellectual Property Rights, be Transferred to
Gouldd.

 
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3. From about 1994 to 1999, | was an officer and director of Equinox
International Corp. and Advanced Marketing Seminars, Inc. (the “Receivership Entities”).
| was also the author of a number of copyrighted works relating primarily to various
training materials, which | licensed to Equinox and/or Advanced Marketing Seminars.

4, In 1999, the Federal Trade Commission and others brought this action
against Equinox, Advanced Marketing Seminars, and me, alleging claims of unfair or
deceptive trade practices by Equinox and/or its highly-placed distributors. (See First
Amended Complaint). |

5. The claims against me were settled on April 25, 2000 on terms which
included a stipulated permanent injunction and which resulted in the Receiver’s current
custody of the assets and records of the Receivership Entities.

6. In an arms-length transaction, on or about October 25, 2007, | purchased
certain intellectual property assets of the Receivership Entities that were in the custody
of the Receiver. A true and correct copy of the Intellectual Property Assignment
Agreement is attached to the Response as Exhibit 2. The intellectual property is
particularly described in Exhibit A to the Assignment Agreement, and includes such
items as audio and video copies of training seminars, marketing and training materials,
non-disclosure agreements, and all written materials distributed to training session
attendees.

7. Although | purchased the intellectual property rights, the Receiver did not
transfer to my possession all documents incident to the Assignment Agreement. For
example, the Assignment Agreement clearly refers to training materials and non-
disclosure agreements, yet, the Receiver has not yet turned over all of those documents.
| am informed and believe that a significant portion of the intellectual property and
related documents which were the subject of the Assignment Agreement are designated
for disposal by the Receiver, as noted in the pending Motion. (See_ Doc. 606 at 3:8-18).

8. On March 21, 2008, | instituted an action for infringement of copyrighted

works included in the intellectual property assets, and related causes of action, against

 
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Marc Accetta and others. (See Bill Gould v. Mare Accetta, et al., case no. 3:08-CV-
0497-0 (N.D. TX)). .

9. Subsequently, | filed additional actions against other infringers. (See Bill
Gouldd v. Greg Amerman. et al., case no. 3-08CV2246-P (N.D. TX) and Bill Gouldd v.

Sheri Sharman, et_al., case no. 08-cv-2212:(N.D. TX), collectively referred to as the

 

“infringement cases”).

10. The Accetta case and the Sharman case have been settled.

 

11. The Amerman case jis still pending and is set for trial soon after March 28,
2011.

12. _In the future, it may be necessary to file additional actions to enforce my
intellectual property rights.

13. During the course of each of the copyright infringement cases, documents
and other material in the custody of the Receiver were the subject of discovery requests
and/or discovery responses. | |

14. Since the Amerman case is still pending, and further action relating to other
infringers is contemplated, it is important to my interests, as well as the administration of
justice, to secure the potentially relevant documents against destruction so that they can
be preserved as evidence in these pending and/or contemplated cases.

15. | Therefore, | request that the documents and other materials owned by me
pursuant to the Assignment Agreement be transferred to my possession. All other
documents incident to the intellectual property rights, more particularly described in
Exhibit A to the Assignment Agreement, should also be assigned to me.

16. | agree to be subject to an appropriate Protective Order to ensure that the
materials remain secure and confidential. Once the materials are no longer deemed
necessary, | will destroy the materials in such a manner that protects against
unauthorized access to the documents or any private personal information contained

therein, such as burning or shredding, to ensure that said information cannot practicably

 
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therein, such as burning or shredding, to ensure that said information cannot practicably
be read, copied, or reconstructed. Such destruction will be accomplished in the manner
proposed in the Receiver’s Motion. -

Dated: December 9, 2010.

_ Bill Gould

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EXHIBIT 2

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INTELLECTUAL PROPERTY
ASSIGNMENT AGREEMENT

THIS INTELLECTUAL PROPERTY ASSIGNMENT AGREEMENT (the “Agreement”) is made
and entered into this JUL" day of _¢ bbev~ , 2007 (“Effective Date”) by and between Robb:
Evans, acting as Receiver for the Equinox Receivership. Estate“! (“Assignor”) and Bill Gouldd
(“Assignee”). The parties hereto agree as follows: .

AGREEMENT

I, In exchange for $4,500, to be paid by Assignee. within ten ( 10) days of the
execution of this Agreement, Assignor hereby irrevocably transfers and assigns to Assignee its
entire right, title and interest in and to the material described in Exhibit A attached hereto and all
applicable intellectual property rights, on a worldwide basis, related thereto (the “Property”),
including, without limitation: (a) all worldwide patents, patent applications, copyrights, trade
secrets and other intellectual property rights, (b) the right to file applications for patent, copyright
or trademark protection of the Property. in the United-States.or.any other countries, and (c) the
right to pursue and retain all available relief for any violation of these tights and interests,
whether past, present, or future,

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2. Assignor agrees to execute any documents and provide any information to
Assignee that Assignee may reasonably request for use ‘in obtaining or enforcing patents,
copyrights, trade secrets and other legal protections: relating to the Property. Assignor appoints
Assignee as its attorney-in-fact to execute documents on Assignee’s behalf for this purpose,

3. Assignee agrees to pay any and all reasonable expenses incurred by Assignor
associated with the retrieval and delivery of the material deseribéd in Exhibit A. Assignor will
obtain Assignee’s prior approval ~ i.e., before the expense is incufred -- to the extent any expense

~ is expected to exceed $10,000, oo

4, Assignor represents and warrants to the best of his knowledge that-(a) Assignor
has the full and exclusive right to assign the rights assigned herein, (b) Assignor has full right
and power to- enter into and perform this Agreement without. the'consent of any third party, (c) all
of the Property is free and clear of all. claims, liens, encumbrances and the like of any nature
whatsoever, (d) the execution, delivery and performance of this Agreement does not conflict
with, constitute a breach of, or in any way violate any arrangement, understanding or agreement
to which Assignor is a party or by which Assignor is bound, and.(e) Assignor has maintained the
Property in confidence and has not granted, directly or indirectly, any rights or interest
whatsoever in the Property to any third party.

5. This Agreement.and the Exhibits attached hereto constitute the entire, complete,
final and exclusive understanding and agreement of the parties hereto with respect to the subject

 

7 Robb Evans was appointed as Receiver of certain assets and entities in F..C. v, Equinox
Int'l Corp., Civ. No. 99-0969 (D. Nev.). The receivership estate established by the District
Court's April 20, 2000 Order in that matter ~ which, includes without limitation the assets of
Equinox International Corporation, Advanced Marketing Seminars, Inc., BG Management, Inc.,
and Stellar Communications, Inc. among other corporaté entities — is referred to herein as “the
Equinox Receivership Estate.”
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matter hereof, and supersedes any other prior or contemporaneous oral understanding or
agreement or any other prior written. agreement. No modification of or amendment to this
Agreement, nor any waiver of any rights under this Agreement, will be effective. unless in
writing and signed by the parties hereto.

6. This Agreement shall be governed by and construed under the laws of the State of
Nevada without respect to any conflicts. of laws principles that would result in the application of
the law of any other jurisdiction.

7. If any provision of this Agreement is found invalid or unenforceable, in whole or

in part, the remaining provisions and partially enforceable provisions will, nevertheless, be
binding and enforceable.

& Failure by either party to exercise any of its rights hereunder shall not constitute
or be deemed a waiver or forfeiture of such rights,

9. The provisions hereof shall inure to the benefit of, and be binding upon, the
successors, assigns, heirs, executorsand administrators of the parties hereto.

IN WITNESS WHEREOF, the undersigned have-executed: this INTELLECTUAL PROPERTY
ASSIGNMENT AGREEMENT as of the date set forth aboves: fy ye od

ASSIGNOR: ASSIGNEE:

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EXHIBIT A

lL. All material recorded, produced or distributed in any way by Advanced Marketing
Seminars, Inc. (“AMS”), and/or any of its affiliates, including without limitation all video
and audio media (including the master tapes and al] identical or non-identical copies) of
“Perpetual Money Machine,” “Journey Beyond Perception,” “Basic Building Blocks,”
“Advanced Basic Building Blocks,” “Leadership,” “Art of Successful Selling,” “Living
the American Dream,” “Millionaire Workshop,” and any other AMS training seminar,
tape or broadcast, including any written drafts, Scripts, or transcripts thereof.

2, All material taped or recorded by audio or visual means produced, distributed or
broadcast by Stellar Communications, Inc. (Stellar”), including without limitation all
‘Stellar satellite uplinks, including any written drafts, scripts, or transcripts thereof.

3, All material taped or fecorded by audio or visual means produced, distributed or
broadcast by Equinox International Corporation (“Equinox”) and/or any of its affiliates,
including any written drafts, scripts, or transcripts thereof. .

4. All marketing or training materials ~ whether recorded or published in written form or by
any audio or visual means ~ containing the image, voice or quotes of Bill Gouldd,
including any written drafts, scripts, or transcripts thereof,

5. All testimonials or other audio or visual recordings produced by-or otherwise belonging
to Equinox, AMS, Stellar or any of their affiliates, including any written drafts, scripts, or
transcripts thereof.

6. All non-disclosure agreements, non-compete agreements, releases or other agreements
signed by attendees of any seminar, performance, convention, or event put on, sponsored,
or hosted by Equinox, AMS, Stellar, or any-of their affiliates. .

7, All non-disclosure agreements, non-compete agreements, releases or other agreements
signed by trainers or other persons participating in. any seminar, performance, convention,
or event put on, sponsored, or hosted by Equinox, AMS, ‘Stellar, or any of their affiliates.

8. All written materials distributed to attendees, trainers, or other persons participating in
any seminat, performance, convention, or event put on, ‘sponsoréd, or hosted by Equinox,
AMS, Stellar, or any of their attendees.
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EXHIBIT 3

EXHIBIT 3
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Email: kKdoyle@mcdonaldcarano.com

Attorneys for Interested Party
Bill Gouldd

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA

FEDERAL TRADE COMMISSION, CASE NO.: CV-S-99-0969-KJD-PAL

Plaintiff |
Vv.

DECLARATION OF

EQUINOX INTERNATIONAL, CORP., THEODORE F. SHIELLS
etal.,

Defendants.

l, THEODORE F. SHIELLS, do hereby swear and affirm under penalty of perjury
of the laws of the State of Nevada that the assertions contained in this declaration are
true and correct.

1. | am over the age of eighteen (18) years. | have personal knowledge of the
facts stated within this declaration. If called as a witness, | would be competent to testify
to these facts.

2. | make this declaration in support of Bill Gouldd’s Limited Response to
Receivers Motion (Doc. #606); Counter-Motion for Protective Order Requiring that
Documents Owned by Gouldd, or Incident to His Intellectual Property Rights, be

Transferred to Gouldd.

 
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3. On March 21, 2008, on behalf of Bill Gouldd, | instituted an action for
infringement of copyrighted works included in the intellectual property assets, and
related causes of action, against Marc Accetta and others. (See Bill Gouldd v. Marc

Accetta, et al., case no. 3:08-CV-0497-0 (N.D. TX)).

 

4, Subsequently, | filed additional actions against other infringers, on behalf of
Bill Gouldd. (See Bill Gouldd v. Greg Amerman. et al., case no. 3-08CV2246-P (N.D.
TX) and Bill Gouldd v. Sheri Sharman, et al., case no. 08-cv-2212 (N.D. TX), collectively

referred to as the “infringement cases’).

5. The Accetta case and the Sharman case have been settled.

6. The Amerman case is still pending and is set for trial soon after March 28,
2011.

7. In the future, it may be necessary to file additional actions to enforce Mr.

Gouldd’s intellectual property rights.

8. During the course of each of the copyright infringement cases, documents
and other material in the custody of the Receiver were the subject of discovery requests
and/or discovery responses.

9. Since the Amerman case is still pending, and further action relating to other
infringers is contemplated, it is important to Gouldd’s interests, as well as the
administration of justice, to secure the potentially relevant documents against destruction
so that they can be preserved as evidence in these pending and/or contemplated cases.

10. During the course of the lawsuits, Mr. Gouldd and an assistant reviewed
some of the documents relevant to the intellectual property assets and retrieved some
materials and documents relevant to the cases | was handling. | had assumed that, in
this review, all documents relevant to the copyright and other intellectual property
matters had been retrieved. Therefore, when | received the Receiver's Motion, it did not
appear to me that any action on my part of Mr. Gouldd’s part was required. Since | was

not attorney of record in the receivership action, | simply forwarded the Motion to Mr.

 
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Gouldd in the mail. Soon thereafter, | left for a deposition in New Jersey in an unrelated
case.

11. When I was out of the office on that deposition, | learned from my client
that it was likely that further documents relevant to the intellectual property matters were
still in the custody of the Receiver. (Ex. 3). By this time | returned from the deposition,
and became familiar with the pertinent facts, there was not sufficient time to obtain
stipulations herein described from the Receiver in order to more efficiently resolve this
matter, or to make the present filing by December 6, 2010. (See id.).

12. The late filing was not done for purposes of delay, and there is no prejudice

to the any defendants, the plaintiff (the FTC), the Receiver, or any other party-in-interest.

Dated: December 9, 2010.

Me

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Theodore F. Shiells

 

 
